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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §     CRIMINAL NO. H-09-029-5
                                              §
                                              §
GERARDO VILLEGAS                              §

                                         ORDER

       Defendant Villegas filed an unopposed motion for continuance of the sentencing hearing

(Docket Entry No. 430). The motion for continuance is GRANTED. The sentencing hearing is reset

to June 29, 2011 at 9:00 a.m.



              SIGNED on April 14, 2011, at Houston, Texas.

                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
